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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH CENTRAL DIVISION


KEVIN WINSTON, et al.
                                                 PLAINTIFFS’ NOTICE OF
Plaintiffs,                                      ACCEPTANCE OF WEST VALLY
                                                 CITY AND ANITA SCHWEMMER’S
v.                                               RULE 68 OFFER OF JUDGMENT

SALT LAKE CITY POLICE                            Case No. 2:12-cv-01134 TS-BCW
DEPARTMENT, et al.,

Defendants.



        Pursuant to Rule 68(a) of the Federal Rules of Civil Procedure, Plaintiffs,

through their undersigned counsel, hereby affirm that on November 10, 2015, they accepted in

writing Defendants West Valley City’s and Anita Schwemmer’s (“Defendants’”) Clarification of

October 21, 2015 Offer of Judgment dated October 27, 2015 (the “October 27 Offer”), attached

hereto as Exhibit A, and hereby provide notice of that acceptance.

        Despite purporting to be a “clarification” to an earlier invalid offer of judgment

Defendants dated October 21, 2015, the October 27 Offer is, in reality, a stand-alone offer that


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Plaintiffs accepted in a timely fashion. The October 27, 2015 Offer stated, in its entirety, as

follows:

              On October 21, 2015, Defendants West Valley City and Anita
              Schwemmer (“WVC Defendants”) offered, pursuant to Rule 68 of
              the Federal Rules of Civil Procedure, to allow Plaintiffs to jointly
              and collectively take judgment against WVC Defendants for Fifty
              Thousand Dollars ($50,000.00) in resolution of all remaining claims
              against WVC Defendants. On October 22, 2015, counsel for
              Plaintiffs, John Mejia, contacted counsel for WVC Defendants,
              Heather S. White, to discuss an alleged ambiguity in the October
              21, 2015 offer of judgment resulting from failure to allocate specific
              portions of the $50,000 offer of judgment amount to Kevin
              Winston, on behalf of his minor son K.W., Gloria Urcino, on behalf
              of her minor daughter, Y.A., and Angelica Estrada, on behalf of her
              minor daughter A.P.

              Pursuant to Roska v. Sneddon, 366 Fed. Appx. 930 (10th Cir. 2010),
              WVC Defendants hereby clarify their October 21, 2015 Offer of
              Judgment by Defendants West Valley City and Anita Schwemmer
              to allow Plaintiffs to jointly and collectively take judgment against
              WVC Defendants for Fifty Thousand Dollars ($50,000.00) in
              resolution of all remaining claims against WVC Defendants, to be
              allocated as follows: forty-eight thousand dollars ($48,000.0) to
              Kevin Winston, on behalf of his minor son K.W.; one thousand
              dollars ($1,000.00) to Gloria Urcino, on behalf of her minor
              daughter, Y.A.; and one thousand dollars to ($1,000.00) to Angelica
              Estrada, on behalf of her minor daughter A.P. This offer must be
              accepted jointly by all Plaintiffs. These amounts include Plaintiffs’
              reasonable attorneys’ fees, expenses and costs incurred in pursuing
              any ultimately successful claims against WVC Defendants. This
              offer is not an admission of liability by WVC Defendants and any
              liability is expressly denied. This offer is intended to reduce WVC
              Defendants’ potential responsibility for Plaintiffs’ costs and
              attorney’s fees as provided by 42 U.S.C. §1988 in the event
              Plaintiffs obtain judgment.

(October 27, 2015 Offer, Ex. A.)

       Plaintiffs accepted the October 27 Offer in writing via email on November 10, 2015.

(Email attached as Exhibit B.) After that acceptance, Defendants sent Plaintiffs an email


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disputing that the October 27, 2015 was a new offer of judgment, asserting instead that the offer

was a “clarification” of an offer they made dated on October 21, 2015 (the “October 21 Letter”),

and requesting that Plaintiffs delay the filing of this Notice. Defendants contended that the

October 21 Letter started the Rule 68 deadline, and that the deadline ended on November 9,

2015. Plaintiffs immediately responded that they were responding to the October 27 Offer,

whose deadline would have expired on November 13, 2015.

       That October 21, 2015 letter read in its entirety:

       Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants
       West Valley City and Anita Schwemmer (“WVC Defendants”) offer to
       allow Plaintiffs to jointly and collectively take judgment against WVC
       Defendants for Fifty Thousand Dollars ($50,000.00) in resolution of all
       remaining claims against WVC Defendants. This amount includes
       Plaintiffs’ reasonable attorneys’ fees, expenses and costs incurred in
       pursuing any ultimately successful claims against WVC Defendants. This
       offer is not an admission of liability by WVC Defendants and any liability
       is expressly denied. This offer is intended to reduce WVC Defendants’
       potential responsibility for Plaintiffs’ costs and attorney’s fees as provided
       by 42 U.S.C. §1988 in the event Plaintiffs obtain judgment.

       If this offer is not accepted within fourteen (14) days after service, the
       offer shall be deemed withdrawn and evidence thereof shall not be
       admissible except in a proceeding to determine costs and attorneys’ fees.


(October 21 Letter, attached hereto as Exhibit C.)

       As Defendants implicitly concede in invoking Roska v. Sneddon, 366 Fed. Appx. 930

(10th Cir. 2010) in their October 27 Offer, the unapportioned offer contained in the October 21

Letter was not a valid offer under the law of the Tenth Circuit. Particularly, Roska approvingly

cited Lintz v. Am. Gen. Finance, Inc., 76 F.Supp.2d 1200, 1213 (D.Kan.1999) for the proposition

that an unallocated Rule 68 offer to two unrelated plaintiffs who faced sexual harassment at work



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“was not valid because the two plaintiffs were unable to evaluate the offer as it related to their

individual claims.” Roska, 366 Fed. Appx. at 940, n. 7.

       As this Court has recently affirmed in denying class certification in this case, the facts

applying to K.W., A.P., and Y.A., three unrelated students, are different, resulting in a different

analysis as to the potential value of their cases. Defendants’ October 21 Letter was an

unapportioned offer that did not allow them to evaluate the offer. As Defendants’ October 27

Offer indicates, Plaintiffs informed Defendants of that invalidity on October 22, 2015. Plaintiffs

did not solicit any additional information about the October 21 Letter, which was clear on its

face, but rather informed Defendants that it was invalid.

       While Defendants contend that the October 27 Offer is a clarification of an offer that

started the clock on October 21, 2015, there is no precedent for allowing a defendant to turn an

invalid Rule 68 offer into a valid one by sending a new offer that purports to be a clarification,

much less relate the valid offer’s 14 day deadline back to the date of the invalid offer. This lack

of case law is unsurprising; because Plaintiffs face great peril in rejecting a Rule 68 offer, it

makes sense that the rule provides 14 full days from the making of a valid offer to evaluate and

accept it. The October 21 Letter failed as an enforceable Rule 68 offer: allowing Defendants to

cut nearly a week off of Plaintiffs’ time for consideration of the October 27 Offer, which is valid,

because that offer is labeled as a clarification of an invalid offer is wholly unsupported by

precedent and policy.

       Today, Plaintiffs have contacted Defendants about whether they intend to object or

otherwise oppose the entry of a judgment based on this Notice. Defendants indicated that they

are unable to let Plaintiffs know of a decision on that question at this time. Because the


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operation of Rule 68 makes entry mandatory, however, Plaintiffs respectfully submit that a

judgment should be entered against Defendants pursuant to the terms of the October 27 Offer,

attached hereto as Exhibit A.

                                     Respectfully submitted this 12th day of November, 2015

                                     Counsel for Plaintiffs,
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                                     CERTIFICATE OF SERVICE

       Counsel of Record for all named Defendants have been served this Notice of Acceptance via the
                                           Court’s ECF system

                                  Dated this 12th day of November, 2015.

                                            By: /s/ John Mejia




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